 Case 24-13606-djb                   Doc        Filed 04/15/25 Entered 04/15/25 08:57:34                          Desc Main
                                                 Document     Page 1 of 7
      Fill in this information to identify the case:

      Debtor 1      SIMONA S. ROBINSON

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 24-13606-djb




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: The Bank of New York Mellon f/k/a The                       Court claim no. (if known): 5
    Bank of New York as successor in interest to JPMorgan
    Chase Bank, National Association, as Trustee for GSRPM
    Mortgage Pass-Through Certificates, Series 2003-1

  Last four digits of any number you use to
  identify the debtor’s account: 9425

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice:         /    _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                       Dates incurred                          Amount

    1. Late charges                                                                                                (1)    $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                             (2)    $ 0.00
    3. Attorney’s fees                                                       10/23/2024 Plan Review Fee @ $250     (3)    $ 250.00
    4. Filing fees and court costs                                                                                 (4)    $ 0.00
    5. Bankruptcy/Proof of claim fees                                        12/17/24 Proof of Claim Fee @ $700    (5)    $ 700.00
    6. Appraisal/Broker’s price opinion fees                                                                       (6)    $ 0.00
    7. Property inspection fees                                                                                    (7)    $ 0.00
    8. Tax advances (non-escrow)                                                                                   (8)    $ 0.00
    9. Insurance advances (non-escrow)                                                                             (9)    $ 0.00
  10. Property preservation expenses. Specify:                                                                    (10)    $ 0.00
  11. Other. Specify:                                                                                             (11)    $ 0.00
  12. Other. Specify:                                                                                             (12)    $ 0.00
  13. Other. Specify:                                                                                             (13)    $ 0.00
  14. Other. Specify:                                                                                             (14)    $ 0.00
        The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

Official Form 410S2                    Notice of Postpetition Mortgage Fees, Expenses, and Charges                                   page 1
 Case 24-13606-djb                      Doc         Filed 04/15/25 Entered 04/15/25 08:57:34                                     Desc Main
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    Debtor1    SIMONA S. ROBINSON                                         Case number (if known) 24-13606-djb
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Andrew Spivack
         Signature
                                                                                  Date 04/14/2025



    Print: Andrew Spivack (84439)
           First Name           Middle Name           Last Name                   Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c o m




Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                                       page 2
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                                            L.B.F. 9014-4

                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   Philadelphia Division


 IN RE:
 SIMONA S. ROBINSON                                      Case No. 24-13606-djb
                                                         Chapter 13
 The Bank of New York Mellon f/k/a The Bank of
 New York as successor in interest to JPMorgan
 Chase Bank, National Association, as Trustee for
 GSRPM Mortgage Pass-Through Certificates,
 Series 2003-1,
         Movant

 vs.

 SIMONA S. ROBINSON ,
      Debtor




                                    CERTIFICATE OF SERVICE

        I, the undersigned, certify that on April 14, 2025, I did cause a true and correct copy of the
documents described below to be served on the parties listed on the mailing list exhibit, a copy of
which is attached and incorporated as if fully set forth herein, by the means indicated and to all parties
registered with the Clerk to receive electronic notice via the CM/ECF system:

      Notice of Postpetition Mortgage Fees, Expenses, and Charges


        I certify under penalty of perjury that the above document was sent using the mode of
service indicated.
 Case 24-13606-djb        Doc     Filed 04/15/25 Entered 04/15/25 08:57:34            Desc Main
                                   Document     Page 4 of 7
Date: April 14, 2025
                                              /s/Andrew Spivack
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Ryan Srnik, PA Bar No. 334854
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: PABKR@brockandscott.com

______________________________________________________________________________

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next
page if necessary.)

Michael A Cibik, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com
Debtor's Attorney
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

KENNETH E WEST,
190 N. Independence Mall West
Suite 701
Philadelphia, PA 19106
Bankruptcy Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107
US Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:
 Case 24-13606-djb   Doc   Filed 04/15/25 Entered 04/15/25 08:57:34   Desc Main
                            Document     Page 5 of 7
SIMONA S. ROBINSON
3029 S 70TH ST
PHILADELPHIA, PA 19142-2531
Debtor
Via:   ☐ CM/ECF ☒ 1st Class Mail      ☐ Certified Mail    ☐ e-mail:
       ☐ Other:
                  Case 24-13606-djb           Doc      Filed 04/15/25 Entered 04/15/25 08:57:34 Desc Main
                                                        Document     Page 6 of 7                INVOICE
                                                                                                           Invoice #: D838427
Brock & Scott, PLLC
1315 Westbrook Plaza Drive, Suite 100                                                                    Invoice Date: 10/24/2024
Winston-Salem, NC 27103
(336)354-1200 - phone                                                                                File Number: 21-02788 BKPLN09
(336)354-1206 - fax




Client:                                                                 Name and Address:

PHH Mortgage Corporation                                                Robinson, Douglas and Simona
1661 Worthington Rd. Ste. 100                                           3029 South 70th Street
West Palm Beach, FL, 33409                                              Philadelphia, PA, 19151




 BK Case # and Chapter                    Loan #                  Loan Type           Investor #         Reason for Completion of Billing


          24-13606/13                                            Conventional                              Bankruptcy Services CH13


DESCRIPTION                                                                     CLASS                                   AMOUNT
Plan Review                                                                     Bankruptcy Plan Review                   250.00
   Service Date: 10/23/2024                                                       BORROWER RECOVERABLE




Please include a copy of this invoice with your remittance to:
**Please note that the remittance address has changed**
    Brock & Scott, PLLC
    PO Box 117788
    Atlanta, GA 30368                                                                    Balance Due:                  250.00
    EIN # XX-XXXXXXX
    E-Mail: AcctsRec@brockandscott.com
                  Case 24-13606-djb           Doc      Filed 04/15/25 Entered 04/15/25 08:57:34 Desc Main
                                                        Document     Page 7 of 7                INVOICE
                                                                                                             Invoice #: D874450
Brock & Scott, PLLC
1315 Westbrook Plaza Drive, Suite 100                                                                    Invoice Date: 12/18/2024
Winston-Salem, NC 27103
(336)354-1200 - phone                                                                               File Number: 21-02788 BKPOC03
(336)354-1206 - fax




Client:                                                                 Name and Address:

PHH Mortgage Corporation                                                Robinson, Douglas and Simona
1661 Worthington Rd. Ste. 100                                           3029 South 70th Street
West Palm Beach, FL, 33409                                              Philadelphia, PA, 19151




 BK Case # and Chapter                    Loan #                  Loan Type          Investor #          Reason for Completion of Billing


          24-13606/13                                            Conventional                                Bankruptcy Services CH13


DESCRIPTION                                                                     CLASS                                   AMOUNT
Proof Of Claim                                                                  Bankruptcy POC                           700.00
   Service Date: 12/17/2024                                                       BORROWER RECOVERABLE


410A Payment History Review - ‘Please be advised that the fee is deemed         Bankruptcy POC                            250.00
non-recoverable against your borrower pursuant to underlying contract             BORROWER NON-RECOVERABLE
terms in the loan documents and/or local bankruptcy court rule custom or
case law.
    Service Date: 12/17/2024




Please include a copy of this invoice with your remittance to:
**Please note that the remittance address has changed**
    Brock & Scott, PLLC
    PO Box 117788
    Atlanta, GA 30368                                                                   Balance Due:                   950.00
    EIN # XX-XXXXXXX
    E-Mail: AcctsRec@brockandscott.com
